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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                        SAN JOSE DIVISION

                                   7

                                   8     UNITED STATES OF AMERICA,                          Case No. 5:18-cr-00258-EJD-1
                                                        Plaintiff,                          FINAL VERDICT FORM
                                   9
                                                   v.
                                  10

                                  11     ELIZABETH A. HOLMES,
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




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                                  14          We, the members of the Jury in the above-entitled case, unanimously find the defendant,

                                  15   Elizabeth Holmes:

                                  16

                                  17          1.                                                   [GUILTY / NOT GUILTY] of the

                                  18   charge of Conspiracy to Commit Wire Fraud against Theranos investors in violation of 18 U.S.C.

                                  19   § 1349, as charged in Count One of the indictment.

                                  20          2.                                                   [GUILTY / NOT GUILTY] of the

                                  21   charge of Conspiracy to Commit Wire Fraud against Theranos paying patients in violation of 18

                                  22   U.S.C. § 1349, as charged in Count Two of the indictment.

                                  23          3.                                                   [GUILTY / NOT GUILTY] of the

                                  24   charge of Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection

                                  25   with a wire transfer of $99,990 on or about December 30, 2013, as charged in Count Three of the

                                  26   indictment.

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                                   1          4.                                                    [GUILTY / NOT GUILTY] of the

                                   2   charge of Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection

                                   3   with a wire transfer of $5,349,900 on or about December 31, 2013, as charged in Count Four of

                                   4   the indictment.

                                   5          5.                                                    [GUILTY / NOT GUILTY] of the

                                   6   charge of Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection

                                   7   with a wire transfer of $4,875,000 on or about December 31, 2013, as charged in Count Five of

                                   8   the indictment.

                                   9          6.                                                    [GUILTY / NOT GUILTY] of the

                                  10   charge of Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection

                                  11   with a wire transfer of $38,336,632 on or about February 6, 2014, as charged in Count Six of the

                                  12   indictment.
Northern District of California
 United States District Court




                                  13          7.                                                    [GUILTY / NOT GUILTY] of the

                                  14   charge of Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection

                                  15   with a wire transfer of $99,999,984 on or about October 31, 2014, as charged in Count Seven of

                                  16   the indictment.

                                  17          8.                                                    [GUILTY / NOT GUILTY] of the

                                  18   charge of Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection

                                  19   with a wire transfer of $5,999,997 on or about October 31, 2014, as charged in Count Eight of the

                                  20   indictment.

                                  21          10.                                                   [GUILTY / NOT GUILTY] of the

                                  22   charge of Wire Fraud against Theranos paying patients, in violation of 18 U.S.C. § 1343, in

                                  23   connection with a wire transmission of Patient E.T.’s laboratory blood test results on or about May

                                  24   11, 2015, as charged in Count Ten of the indictment.

                                  25          11.                                                   [GUILTY / NOT GUILTY] of the

                                  26   charge of Wire Fraud against Theranos paying patients, in violation of 18 U.S.C. § 1343, in

                                  27   connection with a wire transmission of Patient M.E.’s laboratory blood test results on or about

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                                   1   May 16, 2015, as charged in Count Eleven of the indictment.

                                   2            12.                                                [GUILTY / NOT GUILTY] of the

                                   3   charge of Wire Fraud against Theranos paying patients, in violation of 18 U.S.C. § 1343, in

                                   4   connection with a wire transfer of $1,126,661 on or about August 3, 2015, as charged in Count

                                   5   Twelve of the indictment.

                                   6   Dated:

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                                                                                                  Jury Foreperson
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Northern District of California
 United States District Court




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